       Case 1:25-mj-01235-CJC            Document 11      Filed 05/13/25      Page 1 of 6



                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

 UNITED STATES OF AMERICA                        *
                                                 *
        v.                                       *    CASE NO. 25-MJ-1235-CJC
                                                 *
 CHRISTOPHER ALLAN TISOY,                        *
                                                 *
        Defendant                                *
                                                 *
                                              *******

                    GOVERNMENT’S DETENTION MEMORANDUM

                                          Introduction

       The Court should order pre-trial detention of Defendant Christopher Allan Tisoy on the

pending criminal complaint in the District of Massachusetts. D. Mass. Case No. 25-MJ-5141-

JGD. Tisoy is charged with sexual exploitation of minors, in violation of 18 U.S.C. § 2251(a), and

he therefore must overcome a presumption that he should be detained.               See 18 U.S.C.

§ 3142(e)(3)(E). He cannot do so. Tisoy poses a danger to the community, and given his status

as a foreign national with no known ties to the United States beyond his current residency, he also

poses an extreme risk of flight. No condition of combination of conditions can reasonably assure

Tisoy’s appearance in court or the safety of the community, and he should be detained.

                       Procedural Background and Legal Framework

       On May 5, 2025, the Honorable Judith G. Dein, U.S. Magistrate Judge for the District of

Massachusetts, authorized a Criminal Complaint against Tisoy and co-defendant Joshua DeWitte

for sexual exploitation of minors, in violation of 18 U.S.C. § 2251(a) and (e). On May 12, 2025,

DeWitte was ordered detained pretrial.

       Pursuant to 18 U.S.C. § 3142(e)(3)(E), “[s]ubject to rebuttal by the person, it shall be

presumed that no condition or combination of conditions will reasonably assure the appearance of
       Case 1:25-mj-01235-CJC           Document 11        Filed 05/13/25      Page 2 of 6



the personas required and the safety of the community if the judicial officer finds there is probable

cause to believe that the person committed . . . an offense involving a minor victim” under 18

U.S.C. § 2251. When the presumption of detention applies, “the burden of production shifts to the

defendant to come forward with evidence to suggest that the presumption is unwarranted in his or

her particular case.” United States v. Lee, No. ELH-19-159, 2020 WL1974881, *4 (D. Md. Apr.

24, 2020) (quoting United States v. Boyd, 484 F. Supp. 2d 486, 488 (E.D. Va. 2007). Even if the

defendant proffers evidence, the Court must still conduct a totality-of-the-circumstances analysis

of the factors found in 18 U.S.C. § 3142(g). See id.

       When seeking a detention order, the Government may proceed by proffer of evidence. See

United States v. White, PWG-13-436, 2015 WL 2374229, at *2 (D. Md. May 15, 2015). In

determining whether detention is warranted, 18 U.S.C. § 3142(g) directs the Court to consider the

following factors: (1) the nature and circumstances of the offense charged; (2) the weight of the

evidence against the defendant; (3) the defendant’s history and characteristics; and (4) the nature

and seriousness of the danger to the community that would be posed by the defendant’s release.

                                       Factual Background

       As set forth in the affidavit supporting the Complaint, investigators in Massachusetts

identified Telegram conversations between Tisoy (identified in Telegram as “Chris”) and DeWitte

found during a search of DeWitte’s cell phone. Aff. ¶ 17. The conversations between Tisoy and

DeWitte were explicit and clear: Tisoy facilitated the creation of child pornography involving

multiple minor boys that he then sent to DeWitte in exchange for payment. Id. ¶¶ 18–22. Tisoy

discussed, in graphic detail and with apparent enthusiasm, the sex acts he would compel the minor

victims to engage in for his and DeWitte’s pleasure. Id. ¶ 18 (“Thisnisgonna be so good / Im so

excited.”); id. ¶ 20 (“Thank u josh. U make me happy with the boy transactions makes me feel



                                                 2
       Case 1:25-mj-01235-CJC            Document 11       Filed 05/13/25      Page 3 of 6



better less lonely here.”). The agent who reviewed the December 15, 2024, exchange between

DeWitte and Tisoy confirmed that Tisoy sent a video containing child pornography. Id. ¶ 20 n.5.

       Based on DeWitte’s promise to pay for the December 15 video “by end of day,”

investigators identified a PayPal payment of $810.47 from DeWitte to Tisoy’s PayPal account

(under Tisoy’s full name). Id. ¶ 21. Investigators identified numerous PayPal transactions

showing that DeWitte paid Tisoy over $23,000—spread out over 87 separate payments—between

July 3, 2023, and December 27, 2024.

       When Tisoy was arrested, Tisoy waived his Miranda rights and agreed to speak with

investigators. During that interview, Tisoy confirmed the allegations in the complaint: that Tisoy

helped DeWitte to create videos of minors engaging in sexually explicit conduct, involving minors

known to Tisoy, in exchange for money.

       Tisoy is a citizen of the Philippines who has been residing in the United States on an H1-

B visa since September 16, 2024. Id. ¶ 23. The government is unaware of any relatives also

residing in the United States. Further, during this interview with investigators, Tisoy stated, “All

members of my family live in Bohol,” a city in the Philippines, with the exception of his sister,

who travels for a living.

                             Analysis of 18 U.S.C. § 3142(g) Factors

       Tisoy is charged with sexual exploitation of minors, in violation of 18 U.S.C. § 2251(a).

The burden is on Tisoy to overcome the resulting presumption that no condition or combination

of conditions can guarantee his appearance or the safety of the community.            18 U.S.C. §

3142(e)(3)(E). He cannot meet that evidentiary burden. Moreover, even if Tisoy were to proffer

sufficient evidence to overcome the presumption, the statutory factors, considered under the

totality of the circumstances, still compel detention.



                                                  3
        Case 1:25-mj-01235-CJC           Document 11        Filed 05/13/25          Page 4 of 6



       Nature and Circumstances of the Offense: Tisoy’s offense is among one of the most severe

that can be charged under federal law. If convicted, he faces a 15-year mandatory minimum

sentence, and a statutory maximum of 30 years, for each count. Upon indictment, in light of the

multiple victims Tisoy identified during his interview with investigators, Tisoy faces the prospect

of at least two counts of conviction, totaling a potential of 60 years in prison.

       Based on the Telegram conversations between Tisoy and DeWitte, the instant offense

involved the exploitation of at least four minor boys, all of whom appear to have been acting at

Tisoy’s instructions as he “directed” the production of videos showing the minors engaged in

various sex acts. Tisoy was not a passive party to the offense, nor was he acting as a middleman

or distributor of someone else’s material. He “gave [the minor victims] detailed bulleted key

points” to enact as he exploited them for profit. Aff. ¶ 19. Tisoy then provided the resulting videos

to DeWitte, though not without enjoying them himself first. Id. ¶ 20 (“Joshhhh soo hotttt.”).

       Weight of the Evidence Against Tisoy: As described above, the evidence of child

exploitation is unambiguous.      In the Telegram exchanges found on DeWitte’s phone, the

discussion of child exploitation is clear, and analysis of the video found in the exchange confirms

that the exploitation occurred exactly as Tisoy promised it would, and Tisoy’s confession was

Mirandized and recorded.

       Investigators linked Tisoy to the Telegram exchange found on DeWitte’s phone using

information from Tisoy’s PayPal account and immigration paperwork. The name and email

address provided by Tisoy on his visa application match the same information found on his PayPal

account. DeWitte sent the December 15, 2024, payment to Tisoy’s PayPal account, and further

review showed extensive payment activity going back to July 2023. Moreover, investigators were

able to match other details of the Telegram exchange to Tisoy beyond the name “Chris” on the



                                                  4
       Case 1:25-mj-01235-CJC           Document 11        Filed 05/13/25      Page 5 of 6



account. Namely, investigators determined from the conversation that “Chris” was from the

Philippines but was not physically located in the Philippines at the time of the December 2024

exchanges. Aff. ¶ 17.

       History and Characteristics of the Defendant: Tisoy has no criminal record in the United

States, but he is a Filipino national with no known ties to the United States beyond his current

residence and employment, which themselves have expiration dates. His visa expires in 2026 and

his lease expires this year. Regardless of the apparent lack of prior criminal conduct, there is an

extreme risk of nonappearance, especially given the serious sentence Tisoy faces if convicted.

During his interview with investigators, for example, Tisoy asked if the investigators could instead

send him home.

       Nature and Seriousness of the Danger to Any Person or the Community: Tisoy sexually

exploited minor children for money. Tisoy did so not only by creating videos depicting minors

engaging in sexually explicit conduct, but also by brokering a relationship between DeWitte and

the minors. During his interview to police, Tisoy admitted that he was the connection between

DeWitte and the children and that he watched as DeWitte engaged in oral sex with one of the

minors—a minor whom Tisoy and DeWitte later used to create child pornography. The heinous

nature of this kind of abuse is precisely the reason that the mere fact of the charge warrants a

presumption of detention. Tisoy poses an ongoing and immediate danger to the minor boys he

exploited in the exchanges with DeWitte, as well as any other minor victims who he may solicit—

or have previously solicited—for similar acts.




                                                 5
       Case 1:25-mj-01235-CJC           Document 11       Filed 05/13/25      Page 6 of 6



                                           Conclusion

       For the reasons stated above, and for any others presented at the detention hearing, there is

no condition or combination of conditions that would reasonably assure Tisoy’s appearance or the

safety of the community, and Tisoy should be detained pending a trial.

                                                  Respectfully Submitted,

                                                  Kelly O. Hayes
                                                  United States Attorney

                                                  /s/__________________________
                                                  Michael F. Aubin
                                                  Assistant United States Attorney




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